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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


 Shane Fowler and Kelvin Taylor,

                         Plaintiffs,
                                            Case No. 1:21-cv-3303-MLB
 v.

 Norfolk Southern Railway
 Company, Lewis Ware, Dianne
 Barnett, and Stephen
 Weatherman,

                         Defendants.

 ________________________________/

                                  ORDER

      This is an employment retaliation case.           Defendants move for

summary judgment.        (Dkt. 48.)     They also move to strike a sworn

statement on which Plaintiffs rely in their summary judgment papers.

(Dkt. 63.) The Court denies the motion to strike and grants the summary

judgment motion in part.

I.    Background

      Plaintiffs   are   “carmen”      in   Defendant    Norfolk   Southern’s

Mechanical Department. (Dkts. 50 at 5, 27; 51 at 4.) They inspect and
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repair trains at a railyard in Georgia. (Dkt. 58 ¶ 2.) The railyard divides

employees into three shifts. (See Dkt. 48-4 at 9.) Plaintiffs worked the

second shift during the events at issue. (Dkts. 50 at 5, 18–19; 51 at 9, 12,

15–17.)

     On August 15, 2018, Plaintiffs concluded two railcars were

defective because the mechanical component designed to connect each car

to another car (a “coupler”) had a faulty part (the “swing gate”). (See

Dkts. 50-4 at 3–4; 58 ¶ 11; 60 ¶ 10.) Specifically, the swing gate no longer

covered the “cross key”—essentially a pin that locked the couplers

together—meaning the cross key could “wiggle out” and the railcars could

separate. (Dkts. 50 at 4, 17–18; 60 ¶¶ 10–11.) Plaintiffs attached a

written description of this defect to each railcar, a process known as

“bad ordering” the cars. (Dkts. 58 ¶ 4; 60 ¶ 10.) Plaintiffs’ supervisor,

Defendant Ware, then instructed Plaintiffs to repair three other cars on

“Shed Track #1.”     (Dkts. 50 at 41; 50-4 at 3–5.)     He told Plaintiffs

“they were being assigned the extra work because he needed to get his

bad order count down due to them . . . having just bad order[ed] railcars.”

(Dkt. 48-4 at 44.)




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     The next day, Defendant Ware inspected the two railcars with the

faulty swing gates and removed the bad order tags over Plaintiffs’

objection. (Dkts. 56 at 49–52, 63, 70–72; 58 ¶ 11; 60 ¶ 11.) Plaintiffs

insisted the cars were defective because “the key could come out.” (Dkts.

50 at 41; 60 ¶ 11.) Defendant Ware allegedly replied the cars may be

“defective”—and “could be a safety issue”—but “we’re going to let them

go.” (Dkt. 50 at 16–18.) He supposedly explained that, while the cross

keys “may come out,” they had not done so “yet.” (Dkts. 50 at 41; 51 at

10; 60 ¶ 11.) He threatened to “write up” Plaintiff Fowler if he retagged

the cars or “didn’t let [them] go.” (Dkt. 48-4 at 44.)

     On October 1, 2018, Plaintiffs called the Norfolk Southern Ethics

Hotline and made several complaints about Defendant Ware to the

company’s Senior Compliance Investigator, Defendant Weatherman.

(Dkts. 58 ¶¶ 58–59; 60 ¶ 12.) Plaintiffs said Defendant Ware (1) was

“improperly removing bad order tags from defective railcars”; (2) had

“a history of removing bad order tags” and was previously “disciplined”

for doing so; (3) “retaliates against employees who bad order railcar[s]

[by] threatening to bring them up on charges, assigning additional duties,

or assigning menial task[s]”; (4) “instructed carmen to carry the company



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shop phone with them while they are out in the yard inspecting railcars”;

(5) “pulled the bad order tickets off of the two railcars” with the faulty

swing gates; (6) “threatened that he would write [Plaintiffs] up for failure

to follow instructions if they didn’t let the railcars go”; (7) “retaliated

against [Plaintiffs] for bad ordering the railcars by instructing them to

do repair work on the first three cars on Shed Track #1”; (8) retaliated

against Plaintiffs for bad ordering other railcars by instructing Plaintiffs

on September 19, 2018 to “take 15 cases of water to the Engine Terminal”

and to “pick up . . . trash bags and water bottles”; and (9) repaired railcars

himself—or possibly with an employee from another department—in

violation of a collective bargaining agreement provision that limited the

performance of such repairs to carmen. (Dkts. 48-3 at 6–7; 58 ¶ 59.)

      Defendant Weatherman assigned Defendant Barnett (Norfolk

Southern Mechanical Department Division Manager) to investigate

Plaintiffs’ allegations. (Dkt. 58 ¶ 60.) Defendant Barnett was Defendant

Ware’s supervisor at the time. (Dkt. 48-4 at 1.) Defendant Barnett

interviewed twelve Norfolk Southern employees as part of her

investigation. (Dkt. 48-4 at 42.) She sent Defendant Weatherman her

final report on November 6, 2018. (Dkt. 48-4 at 42–45.) She found some



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merit in two of Plaintiffs’ complaints: that Defendant Ware had “removed

bad order tags” and repaired railcars with a non-carman. (See Dkt. 48-4

at 42–45.) But she found little-to-no merit in Plaintiffs’ other complaints.

(See Dkt. 48-4 at 42–45.)

     On November 14, 2018, Defendant Ware and another supervisor

saw Plaintiffs working on a train without placing a “blue signal” in front

of the train. (Dkt. 58 ¶¶ 19, 48; see Dkt. 51 at 16.) Defendant Ware told

Plaintiffs this violated federal and company safety regulations—known

as “blue flag” rules—which require rail workers to display “[b]lue signals”

when they are “on, under, or between rolling equipment” so no one moves

the train. 49 C.F.R. § 218.23; (see Dkts. 48-4 at 22–26; 58 ¶¶ 17, 21; 60

¶ 22). Plaintiffs insisted their conduct was permissible under another

company rule called “movement protection,” which requires employees to

communicate with equipment operators to ensure equipment does not

move during repairs and inspections. (See Dkts. 48-4 at 28–30; 58 ¶¶ 19–

20, 48.) Defendant Ware offered to suspend Plaintiffs for 30 days on a

deferred basis—pursuant to an alternative disciplinary process endorsed

by the company—if Plaintiffs waived their rights to a formal

investigative hearing. (Dkt. 58 ¶ 52.) On November 17, 2018, Plaintiffs



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accepted the offer in consultation with their union representative. (Dkts.

58 ¶ 53; 60 ¶ 23.)

      A day or two later, Plaintiff Fowler overheard Defendant Ware tell

another employee: “[T]hey tried to get me and we got them. And we went

out there and they didn’t—they used the movement protection but we got

them on the blue flag protection, is basically it, and Dianne [Barnett] was

behind all of it.” (Dkt. 50 at 42–44.) Around the same time, Defendant

Weatherman sent Plaintiffs a letter saying the company had completed

its investigation into Plaintiffs’ hotline complaints and found no

“violation of company policy.” (Dkts. 48-3 at 22; 60 ¶ 24.)

      In 2021, Plaintiffs sued Defendants for employment retaliation

under the Federal Rail Safety Act. (Dkt. 1.) Plaintiffs’ complaint seeks

damages, including punitive damages. (Dkt. 1 at 8.) Defendants now

move for summary judgment. (Dkt. 48.) Defendants also move to strike

a sworn statement on which Plaintiffs rely in their summary judgment

papers. (Dkt. 63.)

II.   Motion to Strike

      Defendants ask the Court to strike the statement of a Norfolk

Southern    carman    named     Steven   Daniels    (Dkt.     59-5)   because



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Mr. Daniels’s statement was allegedly not under oath; falsely claims it

was “taken pursuant to Notice and agreement”; was offered “in response

to leading and suggestive questions”; and includes “hearsay, speculation,

conjecture,” and irrelevant information. (Dkt. 63 at 1–2.) The Court

denies Defendants’ motion for several reasons.          The motion includes

virtually no analysis or citations to authority. A notary/court reporter

has submitted a declaration saying she took Mr. Daniels’s statement

“under oath.” (Dkt. 67-1.) The notary/court reporter’s declaration also

says she inadvertently included the “notice and agreement” language on

the cover page of Mr. Daniels’s statement and that doing so was simply

an “error” involving “boiler plate language.”        (Dkt. 67-1.)   Much of

Mr. Daniels’s statement “could be reduced to admissible evidence at

trial,” meaning the Court “may consider” it at summary judgment.

Bowen v. Manheim Remarketing, Inc., 882 F.3d 1358, 1363 n.2 (11th Cir.

2018).     And several of Defendants’ objections go to the weight of

Mr. Daniels’s statement rather than its admissibility. (See, e.g., Dkt. 63

at 63 (arguing Mr. Daniels’s statement is “contrary to” other evidence

and “suggests that it is acceptable to violate a federal safety rule”).)




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       To be sure, Mr. Daniels’s statement does include some assertions—

including legal conclusions and speculative allegations—that are entitled

to no weight even at the summary judgment stage. (See, e.g., Dkt. 59-5

at 8 (characterizing conduct as “a form of retaliation”), 10 (describing

“what Fowler and Taylor thought” without any foundation or

elaboration).) Such assertions cannot create a genuine issue of material

fact. See, e.g., Crawford v. Chao, 158 F. App’x 216, 217 (11th Cir. 2005)

(“Conclusory allegations or evidence setting forth legal conclusions are

insufficient to show that a genuine issue of material fact exists.”).1 But

Defendants have not shown the Court should strike Mr. Daniels’s

statement, much less that it should strike the document in full. That is

the relief Defendants seek. (See Dkt. 68 at 5 (“[T]he Court should strike

all of the Daniels Statement excerpts.”).)          So the Court denies

Defendants’ motion.




1The  Court recognizes Crawford and other cases cited herein are
unpublished and not binding. The Court cites them nevertheless as
instructive. See Searcy v. R.J. Reynolds Tobacco Co., 902 F.3d 1342, 1355
n.5 (11th Cir. 2018) (“Unpublished cases do not constitute binding
authority and may be relied on only to the extent they are persuasive.”).


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III. Motion for Summary Judgment

     A.    Standard of Review

     Summary judgment is appropriate when “the movant shows that

there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The court

must “resolve all reasonable doubts about the facts in favor of the

non-movant, and draw all justifiable inferences in his or her favor.”

Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1115 (11th Cir. 1993). “Where

the record taken as a whole could not lead a rational trier of fact to find

for the non-moving party, there is no genuine issue for trial.” Salinero v.

Johnson & Johnson, 995 F.3d 959, 964 (11th Cir. 2021).

     B.    Legal Framework

     The Federal Rail Safety Act (“FRSA”) says a railroad carrier may

not “discharge, demote, suspend, reprimand, or in any other way

discriminate against an employee” for engaging in protected activity.

49 U.S.C. § 20109(a)–(b). The statute lists several protected activities,

including reporting hazardous safety conditions, refusing to violate

railroad safety rules, and reporting other violations of such rules. See id.

The statute is designed to “promote safety in every area of railroad



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operations and reduce railroad-related accidents and incidents.”        Id.

§ 20101.

     To establish a FRSA retaliation claim, an employee must show

“1) he [or she] engaged in protected activity, 2) the employer knew he [or

she] engaged in said activity, 3) the employee suffered an adverse

employment action, and 4) the protected activity was a contributing

factor in the adverse action.” Grantham v. CSX Transportation, Inc.,

2022 WL 677575, at *3 (S.D. Ga. Mar. 7, 2022); see Hitt v. CSX

Transportation, Inc., 2023 WL 3398538, at *6 (N.D. Ala. May 11, 2023)

(same); Singleton v. Norfolk S. Ry. Co., 2023 WL 1768115, at *4 (N.D. Ga.

Feb. 3, 2023) (same).     “Once the employee makes this prima facie

showing, the burden shifts to the employer to demonstrate by clear and

convincing evidence that it would have taken the same unfavorable

personnel action absent the protected activity.”     Singleton, 2023 WL

1768115, at *4.   “The employee cannot obtain relief if the employer

succeeds in establishing th[is] same-action defense.” Yowell v. Admin.

Rev. Bd., United States Dep’t of Lab., 993 F.3d 418, 422 (5th Cir. 2021).

     Defendants’ motion focuses on the fourth element of Plaintiffs’

prima facie case (the “contributing factor” requirement) and Defendants’



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same-action defense.     The latter is straightforward.     The former is

trickier. It requires an employee to show his or her protected activity

was “a contributing factor” in the adverse action about which he or she

complains. Defendants say this requires proof of retaliatory animus,

meaning “plaintiff must prove that the employer’s adverse action was

motivated [at least in part] by a desire to retaliate against the plaintiff

for engaging in protected activity.” Branum v. Norfolk S. Ry. Co., 2022

WL 20272913, at *12 (N.D. Ga. Sept. 30, 2022); (see Dkt. 48-1 at 25–29).

Plaintiffs disagree, claiming they need only show “the protected activity

was one factor . . . that caused the adverse action.” Branum, 2022 WL

20272913, at *11; (see Dkt. 59 at 9–11).

     “[T]he Eleventh Circuit has not weighed in on this debate”

(or on FRSA claims more generally). Branum, 2022 WL 20272913, at

*10, *12. The authority from other courts is also mixed. At least three

circuits have adopted Defendants’ position. See Tompkins v. Metro-N.

Commuter R.R. Co., 983 F.3d 74, 82 (2d Cir. 2020); Armstrong v. BNSF

Ry. Co., 880 F.3d 377, 381–82 (7th Cir. 2018); Kuduk v. BNSF Ry. Co.,

768 F.3d 786, 791 (8th Cir. 2014). District courts in our circuit have sided

with Defendants as well. See, e.g., Boatright v. CSX Transportation, Inc.,



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2023 WL 4548280, at *7 (S.D. Ga. July 14, 2023) (“[A]n employee must

prove retaliatory animus to satisfy the ‘contributing factor’ aspect of

FRSA’s anti-retaliation statute.”); Singleton, 2023 WL 1768115, at *4

(“[P]roof of retaliatory animus is needed to succeed on an FRSA claim.”).

But two circuits have taken the contrary view. See Frost v. BNSF Ry.

Co., 914 F.3d 1189, 1195–96 (9th Cir. 2019); Araujo v. New Jersey Transit

Rail Operations, Inc., 708 F.3d 152, 158–59 (3d Cir. 2013).

     The Court declines to take a position on this issue today because

doing so would not affect the outcome of Defendants’ motion. That is,

whether or not retaliatory animus is required, the Court would still reach

the same conclusions expressed in this Order. The Court is also reluctant

to stake out a position on the current record because the parties’ briefing

only scratches the surface of the issues involved. The question is a thorny

one—based on the Court’s preliminary review, anyway—and the parties

should be prepared to address it in depth if it comes up again, for

example, in crafting necessary jury instructions.

     C.    Plaintiffs’ Claims

     The Court next considers Plaintiffs’ claims. They are hard to pin

down. The complaint alleges several protected activities, including that



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(1) Plaintiffs bad ordered two railcars on August 15, 2018; (2) Plaintiffs

“refus[ed] to not violate federal safety statutes and rules relating to car

inspections and bad ordering”; (3) Plaintiffs complained about Defendant

Ware to Defendant Weatherman on October 1, 2018; (4) Plaintiffs

repeated their complaints to Defendant Barnett during her investigation;

and (5) Plaintiffs made “multiple reports of safety hazards, statutory

violations, and improper retaliation.” (Dkt. 1 ¶¶ 9, 14, 16, 27.) The

complaint also alleges several adverse employment actions, including

that (1) “[o]n November 14, 2018, Ware accused Plaintiffs of a blue flag

violation and removed Plaintiffs from service”; (2) “[o]n November 15,

2018, Plaintiffs received [a] letter notifying them of [an upcoming

disciplinary] conference” to discuss Plaintiffs’ alleged blue flag violation;

(3) Defendant Ware ultimately “subject[ed]” Plaintiffs to the conference;

(4) Defendant Ware “discipline[d]” Plaintiffs for the blue flag incident;

and (5) on November 19, 2018, Defendant Weatherman told Plaintiffs

“the NS ethics investigation was complete” and “Ware had not committed

any offenses.” (Dkt. 1 ¶¶ 18–19, 22, 24.) Many of these activities and

actions appear to overlap. And the complaint never says which action

was retaliation for which activity. (See, e.g., Dkt. 1 ¶ 35.)



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     Plaintiffs’ summary judgment brief is not a model of clarity either

but, having reviewed it carefully and repeatedly, it does appear to narrow

Plaintiffs’ theories. It frames Plaintiffs’ alleged protected activities as

(1) bad ordering the two railcars on August 15, 2018; and (2) complaining

about Defendant Ware to Defendant Weatherman on October 1, 2018.

(See Dkt. 59 at 2–3, 6–8.) It claims that, in retaliation for the first

protected activity (the August 15 bad orders), Defendant Ware

“harassed” Plaintiffs by giving them “demeaning and nitpicking work,”

assigning them “more work than usual,” and subjecting them to “other

such harassment.”      (Dkt. 59 at 2–3.)     Piecing things together, this

harassment specifically involved (1) threatening to “write up” Plaintiff

Fowler on August 16, 2018 “for failure to follow instructions” if he bad

ordered the two cars he had bad ordered a day earlier; and (2) directing

Plaintiffs to repair the three Track #1 cars on August 15, 2018. (Dkts.

48-4 at 44; 59 at 2–3, 14.) Plaintiffs’ brief also claims that, in retaliation

for the second protected activity (the October 1 hotline complaint),

Defendant Ware disciplined Plaintiffs for allegedly violating the

company’s blue flag rules. (See Dkt. 59 at 9–17.)




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     This Order focuses on the claims in Plaintiffs’ brief (as the Court

reads them). To the extent Plaintiffs purport to assert other claims, those

claims fail either because Plaintiffs have abandoned them by not

sufficiently raising/pressing them or because no reasonable jury could

conclude they have merit. See Resol. Tr. Corp. v. Dunmar Corp., 43 F.3d

587, 599 (11th Cir. 1995) (“[T]he onus is upon the parties to formulate

arguments; grounds alleged in the complaint but not relied upon in

summary judgment are deemed abandoned.”); Whitten v. Soc. Sec.

Admin., Comm’r, 778 F. App’x 791, 793 (11th Cir. 2019) (“For an issue to

be adequately raised in [a] brief, it must be plainly and prominently

raised and must be supported by arguments and citations to the record

and to relevant authority.”).

     D.    Plaintiffs’ First Claim: Write-Up Threat2

     Plaintiff Fowler first claims Defendant Ware threatened to write

him up on August 16, 2018 (adverse action) because he had bad ordered


2 The parties’ summary judgment papers are unclear and imprecise.
They rarely spell out with specificity how the parties’ assertions tie into
Plaintiffs’ theories or into the legal elements of a FRSA claim. They also
talk past one another at several points (which is probably because neither
side really knows what the other is trying to say). The Court has done
its best to sort through the mess. To the extent the Court has failed to


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two railcars a day earlier (protected activity). (See Dkts. 59 at 2–3, 6–8,

14; 48-4 at 44.) Defendant says this claim fails as a matter of law because

Plaintiff’s bad orders were not a “contributing factor” in Defendant’s

threat. (See Dkt. 48-1 at 3, 25–31.) The Court disagrees (even assuming

the contributing-factor element requires animus) as there is evidence

from which a jury could reach this conclusion.

     First, Defendant’s threat came just one day after Plaintiff bad

ordered the cars.   This means there was “close temporal proximity”

between the protected activity (the August 15 bad orders) and the

adverse action (the August 16 threat). Branum, 2022 WL 20272913, at

*13; see Head v. Norfolk S. Ry. Co., 2017 WL 4030580, at *17 (N.D. Ala.

Sept. 13, 2017) (one-day gap between protected activity and adverse

action suggests the former contributed to the latter).

     Second, Defendant Ware had a weekly “bad order goal or

expectation”; train delays and bad orders affected his performance

evaluations; and his supervisor praised him for “lowering the bad order

count” and “pushing to meet the safety, bad order, and productivity




divine the parties’ intended arguments or claims in any respect, the
responsibility for that failure lies with the parties alone.

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goals.” (Dkts. 56 at 42–47; 60 ¶¶ 1–9.) This gave Defendant a motive to

retaliate against employees for bad ordering railcars. See Branum, 2022

WL 20272913, at *13 (supervisors had a “motive[] to retaliate” against

employees     who    adversely       impacted   the “metrics   on       which

[the supervisors] are evaluated”).

     Third, according to Plaintiff, Defendant Ware told employees

“there’s not going to be any more bad ordering done because we reached

the bad order quota.” (Dkt. 50 at 24.) Mr. Daniels testified Defendant

Ware “made it seem like [bad ordering] was a definite problem,” which

“intimidat[ed]” employees and deterred them from bad ordering cars.

(Dkt. 59-5 at 5.)   There is also substantial evidence that Defendant

removed bad order tags from “several” railcars in violation of company

policy. (See Dkt. 48-4 at 42–43; 55 at 39; 56 at 72; 59-5 at 6.) All of this

suggests    Defendant    harbored     “antagonism   or   hostility   toward

[Plaintiff’s] protected activity” (bad ordering), which underscores his

motive to punish that activity. Branum, 2022 WL 20272913, at *13.

     Finally, Defendant Ware told Plaintiff not to bad order the cars on

August 16—and that he would write Plaintiff up if Plaintiff did so—

because the cars “were not defective.” (Dkt. 48-4 at 44; see also Dkt. 48-



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5 ¶¶ 5–6 (taking the same position in this litigation).) But, according to

Plaintiffs, Defendant Ware also suggested the cars were “defective,”

presented “a safety issue,” and “could” malfunction. Thus, a jury could

find Defendant’s “explanation” for threatening Plaintiff was “fals[e]” and

“pretext[ual].”   Branum, 2022 WL 20272913, at *13 (jury may infer

retaliatory intent from “the falsity of an employer’s explanation for the

adverse action,” “indications of pretext,” and “an employer’s shifting

explanations for its actions”).

     Given the totality of this evidence and the record more broadly,

Plaintiff Fowler has adequately shown his August 15 bad orders were

“a contributing factor” in Defendant Ware’s decision to threaten him with

a write-up on August 16. Plaintiff’s write-up claim can thus proceed.

     E.    Plaintiffs’ Second Claim: Track #1 Train Repairs

     Plaintiffs next claim Defendant Ware assigned them to repair

three cars on Shed Track #1 (adverse action) in retaliation for Plaintiffs’

August 15 bad orders (protected activity). (Dkts. 48-4 at 44; 59 at 2–3.)

Defendant never specifically addresses this claim in the argument

section of his brief. (See Dkt. 48-1 at 25–37; see also Dkt. 61.) So he has

not shown he is entitled to summary judgment on the claim.



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      Even if Defendant had addressed the claim and argued it fails

under the “contributing factor” element—as he did with Plaintiffs’ other

claims—the Court would reject that argument at this stage of the

litigation. Defendant Ware instructed Plaintiffs to repair the Track #1

cars just hours—maybe even minutes—after Plaintiffs bad ordered the

two cars with the faulty swing gates. (Dkts. 50 at 41; 50-4 at 3–5.) This

means there was near-immediate temporal proximity between the

protected activity (the bad orders) and the adverse action (the Track #1

instruction). Defendant had a strong motive to punish Plaintiffs for bad

ordering the cars (for the reasons explained above). First shift employees

were “typically responsible for repairing railcars in Shed Track #1,” were

“originally . . . supposed to take care of the[] cars,” had “two or three times

[more] manpower” than Plaintiffs’ second shift team (who were “doing

other things” at the time), had “the time to do th[e] work,” did not

understand why Defendant Ware reassigned the work to Plaintiffs, and

viewed the reassignment as a “joke.” (Dkts. 48-4 at 44; 50 at 18–19.)

Defendant Ware also explicitly linked his Track #1 instruction to

Plaintiffs’ bad orders. He said Plaintiffs “were being assigned the extra




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work because he needed to get his bad order count down due to them . . .

having just bad order[ed] railcars.” (Dkt. 48-4 at 44 (emphasis added).)

     A jury could easily find this evidence satisfies the less demanding

version of the “contributing factor” test (the one requiring mere

causation). The evidence might even satisfy the heightened test (the one

requiring animus). That is a closer call, of course. But, given Defendant’s

failure to explain why the heightened test applies at all (he just describes

the test and says it applies), the Court would not grant him summary

judgment based on an argument whose success depends on that test.

     One final thing to flag here. A defendant can always avoid FRSA

liability by showing he “would have taken the same unfavorable

personnel action absent the protected activity.”      Singleton, 2023 WL

1768115, at *4. This is known as the same-action defense. Defendant

does not specifically raise that defense in connection with Plaintiffs’

Track #1 claim. But, if he had, the Court may well have upheld it.

Plaintiff Fowler testified that, before he bad ordered the cars during the

second shift of the day on August 15, Defendant Ware instructed

first shift employees not to repair the three Track #1 cars because

“he was going to make [Plaintiffs] do it.” (Dkt. 50 at 18.) Plaintiff also



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testified a first shift employee told him about this development before

Plaintiff received the assignment from Defendant Ware. (Dkt. 50 at 18.)

That, at least, is how the Court reads Plaintiff’s testimony. If the Court’s

reading is right, Defendant committed to take the adverse action at issue

before Plaintiffs’ protected activity even occurred—in which case

Defendant “would have taken the action regardless of [the] protectivity

activity” and the same-action defense applies. Blackorby v. BNSF Ry.

Co., 936 F.3d 733, 736 (8th Cir. 2019).

     Defendant raises none of these issues. And the Court will not do it

for him. On the current record, Plaintiffs’ Track #1 claim may proceed.3


3 In their summary judgment brief, Plaintiffs claim Defendant Ware gave

them “demeaning and nitpicking work” in retaliation for the August 15
bad orders. (Dkt. 59 at 3.) Plaintiffs cite no specific work assignment in
support of this claim. Nor is any such assignment apparent from the
record. In their October 1 hotline complaint, Plaintiffs did say Defendant
Ware instructed them on September 19 to “take 15 cases of water to the
Engine Terminal” and to “pick up the trash bags and water bottles [other]
employees had thrown on the ground around the Engine Terminal.”
(Dkt. 48-3 at 7.) But Plaintiffs did not link this assignment to their
August 15 bad orders. (See Dkt. 48-3 at 6–7 (linking the assignment to
another incident).) And the record does not suggest the assignment was
retaliatory. (See, e.g., Dkts. 48-4 at 45 (Engine Terminal had “no water”
at the time); 50-4 at 10 (Defendant Ware instructed another employee to
pick up trash and water bottles around the same time); 58 ¶ 34
(“employees on every shift . . . participate in transporting water [and]
cleaning up trash,” and other employees complained about the same
work).)

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     F.    Plaintiffs’ Third Claim: Blue Flag Discipline

     Plaintiffs’ final claim is that Defendant Ware disciplined them for

allegedly violating the company’s blue flag rules on November 14, 2018

(adverse action), in retaliation for Plaintiffs’ hotline complaint to

Defendant Weatherman on October 1, 2018 (protected activity).

Defendant Ware says this claim fails because Plaintiffs’ hotline

complaint did not factor into his disciplinary decision (contributing-factor

element) and, even if it did, he would have disciplined Plaintiffs

regardless of their complaint (same-action defense). A reasonable jury

could reject these arguments and find for Plaintiffs on both issues

(even assuming the contributing-factor element requires animus).

     Plaintiffs testified (1) Defendant Ware told carmen they could

repair a train without displaying blue signals if blue signals were

unavailable and carmen called the train operator to establish “movement

protection”; (2) Plaintiffs and other carmen followed this instruction for

several months; (3) Defendant Ware knew carmen were following this

instruction and oversaw—without objection—at least one incident in

which Plaintiff Taylor used movement protection in lieu of blue signals;

(4) Defendant Ware never disciplined anyone for following his



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instruction; (5) Plaintiffs followed Defendant Ware’s instruction on

November 14, 2018 because blue signals were unavailable and Plaintiffs

called the train operator to arrange for “movement protection”; and

(6) Defendant Ware punished Plaintiffs for essentially following his

instruction on November 14, 2018. (Dkts. 50 at 26–28, 37–38; 51 at 16–

18; see also Dkt. 59-5 at 10–11 (Mr. Daniels testifying “other carmen had

done the exact same thing” and never got “in trouble”).) Plaintiff Fowler

also testified that, “a day or two” after Plaintiffs’ punishment, Defendant

Ware boasted to another employee: “[T]hey tried to get me and we got

them. . . . [T]hey used the movement protection but we got them on the

blue flag protection . . . and [Defendant Barnett] was behind all of it.”

(Dkt. 50 at 42–44.)

     This evidence contains “indications of pretext,” involves an

“inconsistent application of [Defendant’s] policies,” and suggests

“a change in [Defendant’s] attitude toward [Plaintiffs] after [they]

engage[d] in protected activity,” all of which supports an inference of

retaliation. Branum, 2022 WL 20272913, at *13. Defendant Ware’s

inflammatory comment—that “they tried to get me and we got them”—

also suggests subjective retaliatory animus. A jury could accept this



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evidence,   reject   Defendants’   conflicting   evidence,   and   conclude

Defendant Ware disciplined Plaintiffs not because they failed to display

blue signals but because they lodged a litany of formal complaints against

Defendant just six weeks earlier. A jury could also conclude from the

same evidence that Defendant Ware would not have disciplined Plaintiffs

if they hadn’t complained about him. See id. at *14 (“a jury could use the

same evidence noted in this Court’s ‘contributing factor’ analysis” to find

the same-action defense did not apply). Plaintiffs’ blue-flag claim can

thus proceed.

     G.     Punitive Damages

     Defendants’ summary judgment motion includes a generalized,

one-sentence request for summary judgment on Plaintiffs’ claim for

punitive damages. (See Dkt. 48-1 at 37 (“[S]ince there is no evidence of

reckless or callous disregard for the Plaintiffs’ rights, or intentional

violations of federal law, summary judgment should be entered on the

claim for punitive damages.”).)      The Court denies this request as

conclusory. The request also fails on the merits because a jury could find

“Defendant disciplined [Plaintiffs] to punish [them] for reporting” safety




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concerns and FRSA violations. Boatright, 2023 WL 4548280, at *19.

That is sufficient to trigger punitive damages. Id.

IV.   Conclusion

      Defendants’ Motion to Strike Statement Excerpts of Steven Daniels

(Dkt. 63) is DENIED.      Defendants’ Motion for Summary Judgment

(Dkt. 48) is GRANTED IN PART and DENIED IN PART. It is denied

to the extent it seeks summary judgment on Plaintiffs’ claims that

(1) Defendant Ware threatened to write up Plaintiff Fowler on

August 16, 2018 in retaliation for Plaintiff’s bad orders a day earlier;

(2) Defendant Ware instructed Plaintiffs on August 15, 2018 to repair

three railcars on Shed Track #1 in retaliation for Plaintiffs’ bad orders

earlier that day; and (3) Defendant Ware disciplined Plaintiffs in

mid-November 2018 in retaliation for Plaintiffs’ October 2018 hotline

complaint to Defendant Weatherman. These claims may proceed against

Defendants Ware and Norfolk Southern. Plaintiffs’ request for punitive

damages may also proceed. Defendants’ motion for summary judgment

is otherwise granted. This means, among other things, that Plaintiffs’




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claims against Defendants Barnett and Weatherman are no longer a part

of this case.4

      The Court ORDERS this case to mediation. The parties may retain

a private mediator at their own expense. Or they may ask the Court to

appoint a magistrate judge to conduct the mediation. The parties are not

required to pay for mediation by a magistrate judge.

      The parties shall advise the Court of their mediation preference

within the next 30 days. If the parties elect to retain their own mediator,


4 At this stage, Defendants have not shown Plaintiffs’ claims against
Defendant Norfolk Southern should be treated differently than Plaintiffs’
claims against Defendant Ware. So, to the extent the claims against
Defendant Ware can proceed, they can also proceed against Norfolk
Southern. Plaintiffs do not contend—and certainly have not shown—
Defendants Barnett and Weatherman are liable for Defendant Ware’s
retaliatory “harassment” for the August 15 bad orders. Nor do they
dispute that Defendant Weatherman “had no role in the decision to
discipline [Plaintiffs] for the November 14, 2018 Blue Flag violation.”
(Dkt. 58 ¶ 68.) To the extent Plaintiffs claim Defendant Barnett is liable
for Plaintiffs’ blue flag discipline or any other retaliatory act, they have
not shown a jury could find in their favor. They have not raised a cat’s
paw theory and Defendant Ware’s alleged comment that Defendant
Barnett was “behind all of it”—without more—is too vague and
conclusory to create a triable issue. That is so given the dearth of other
evidence against Defendant Barnett and Defendant Ware’s testimony
that (1) he “did not speak with Dianne Barnett about the November 14,
2018 Blue Flag violation,” (2) “Barnett was on vacation that week,” and
(3) “for that reason [Defendant Ware] discussed the case with [another
supervisor] who was the designated contact for such matters in Barnett’s
absence.” (Dkt. 48-5 at 6; see Dkt. 58 ¶ 54.)

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they shall identify the mediator no later than 45 days after the entry date

of this Order. Mediation must occur within 90 days after the entry date

of this Order. The parties must have present at the mediation a person

with authority to settle this litigation. The parties shall file a report on

the outcome of their mediation no later than 7 days after the mediation

concludes.

     The Court STAYS this case pending mediation.               The Court

DIRECTS the Clerk to ADMINISTRATIVELY CLOSE this case

during the period of the stay.

     SO ORDERED this 22nd day of September, 2023.




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